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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF                     )
 AMERICA,                             )
                                      )
 Plaintiff,                           )
                                      )
 vs.                                  )        CAUSE NO. 2:11-CR-015
                                      )
 FELICIA SALLAY,                      )
                                      )
 Defendant.                           )

                           OPINION AND ORDER

       This matter is before the Court on the Petition for Review of

 Detention   Order   pursuant    to       18   U.S.C.   §     3145(b),       filed   by

 defendant, Felicia Sallay, on March 29, 2011 (DE #17).                      The Court

 has reviewed the electronic recording of the detention hearing held

 before Magistrate Judge Andrew P. Rodovich on March 22, 2011, all

 evidence submitted at that hearing, and the order of detention

 issued on March 30, 2011. After consideration of the foregoing and

 for the reasons set forth below, defendant’s requests that the

 Court revoke the Detention Order or amend the Detention Order to

 require the defendant to be on home detention are DENIED.                        This

 Court ORDERS that Felicia Sallay remain HELD WITHOUT BOND.
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 BACKGROUND

      An Indictment was filed on January 20, 2011, alleging that,

 from approximately December 2008 until June 2009, defendant Felicia

 Sallay (“Sallay”), along with three co-defendants, knowingly and

 with the intent to defraud, passed falsely made and counterfeited

 one-hundred ($100.00) dollar bills in violation of United States

 Code, Title 18, Sections 2 and 472.        (DE #1.)     An arrest warrant

 was issued, and Sallay was arrested on March 14, 2011.               (DE #12.)

 On March 22, 2011, a hearing was held before Magistrate Judge

 Andrew P. Rodovich (“Judge Rodovich”).       (DE #16.)     Sallay appeared

 in person with her attorney, Michael W. Bosch (“Attorney Bosch”),

 and present for the Government was Assistant United States Attorney

 Randall M. Stewart (“AUSA Stewart”).         At that hearing, both the

 Government and Sallay had full opportunity to produce and present

 evidence.

      The Government presented evidence by way of proffering the

 bond report.    When asked by Judge Rodovich, the Government stated

 that Sallay faces a maximum of twenty years imprisonment and a fine

 of $250,000 for the crime charged in the Indictment.                  Attorney

 Bosch proffered the bond report and that the outstanding warrant

 referenced in that report can be recalled. He also stated that, if

 released, Sallay will be able to reside with relatives who live in

 Chicago.    No other evidence was presented.



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      The Government proceeded to argue that Sallay presents a

 flight risk because: (1) she has a twenty year history of contact

 with law enforcement; (2) she has a severe heroin and cocaine

 problem; and (3) she has a lengthy history of bond forfeiture and

 has failed to comply and appear for relatively minor offenses in

 the past. In response, Attorney Bosch argued that: (1) while it is

 true that the maximum penalties are stiff in this case, based on

 the amount of money at issue as well as her criminal history,

 Sallay is likely only looking at a Guideline range of two to eight

 months; (2) the solution to her mental health issues is not to toss

 her into jail; (3) her substance abuse issues should be viewed in

 light of the fact that she has a strong incentive to get clean

 because the Department of Children and Family Services (“DCFS”)

 will take her three year old daughter away if she does not; (4) she

 does have a place to reside if released; and (5) while she has been

 involved in past criminal activity, there is not a serious volume

 of offenses that are relevant.

      At the conclusion of the hearing, Judge Rodovich ordered that

 Sallay be detained pending trial.          He issued a written order of

 detention on March 30, 2011.          (DE #18.)       In that order, Judge

 Rodovich made the following findings of fact: (1) Sallay cannot

 return to her Section 8 apartment because of her prior criminal

 record, but, if released on bond, she can reside with her sister-

 in-law   in   Chicago;   (2)   at   the   time   of   her   arrest,    she   was


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 unemployed and receiving food stamps and Social Security disability

 benefits because of her mental health issues; (3) Sallay admitted

 to using cocaine and heroin on a regular basis; and (4) Sallay has

 an extensive criminal record and has used three aliases in the

 past.   (Id. at 1-4.)    Pursuant to the bond report, Judge Rodovich

 listed Sallay’s criminal history as follows:

            A. On November 16, 1992, the defendant was
            arrested for shoplifting. On December 15,
            1992, a bond forfeiture was entered when the
            defendant failed to appear. This offense
            occurred in Illinois.

            B. On April 19, 1995, the defendant was
            sentenced to six months imprisonment based
            upon a battery conviction. This offense
            occurred in Wisconsin.

            C. Also on April 19, 1995, the defendant was
            convicted of possession of a controlled
            substance and received a two year prison
            sentence. This conviction also occurred in
            Wisconsin.

            D. On April 19, 1995, the defendant received
            five years probation on a bail jumping
            conviction. This offense also occurred in
            Wisconsin.   Although   the   defendant   was
            sentenced on the same date, the conduct which
            formed the basis of the convictions occurred
            on separate occasions.

            E. On October 23, 1996, the defendant was
            arrested for disorderly conduct. On November
            26, 1996, a bond forfeiture was entered when
            the defendant failed to appear. This offense
            occurred in Illinois.




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            F. On August 10, 2004, the defendant was
            arrested for theft. On October 6, 2004, a bond
            forfeiture was entered when the defendant
            failed to appear. The defendant later was
            arrested, and on February 23, 2006, the
            defendant was convicted and sentenced to six
            months probation. This offense occurred in
            Illinois.

            G. On August 24, 2008, the defendant was
            arrested for theft. On September 8, 2008, a
            bond forfeiture was issued when the defendant
            failed to appear. This offense occurred in
            Illinois.

            H. On January 1, 2009, the defendant was
            arrested for theft. On February 23, 2009, a
            bond forfeiture was issued when the defendant
            failed to appear. The defendant later was
            arrested, and on June 29, 2009, the defendant
            was placed on court supervision. This offense
            occurred in Illinois.

            I. On June 6, 2009, the defendant was arrested
            for possession of drug paraphernalia. On
            August 18, 2009, a bench warrant was issued
            when the defendant failed to appear. The
            defendant subsequently was arrested, and a
            second bench warrant was issued on September
            3, 2010, when the defendant again failed to
            appear. The bench warrant remains outstanding.
            This case is pending in Indiana.

            J. On January 20, 2010, the defendant was
            arrested for shoplifting. On January 21, 2010,
            the defendant received a one year conditional
            discharge. This offense occurred in Illinois.

            K. On March 19, 2010, the defendant again was
            convicted of shoplifting and received a 14 day
            jail sentence. This conviction occurred in
            Illinois.



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            L. On June 27, 2010, the defendant again was
            arrested for shoplifting. On August 2, 2010, a
            bench warrant was issued when the defendant
            failed to appear. This offense occurred in
            Illinois.

            M. On December 20, 1020, the defendant was
            arrested for shoplifting. On January 24, 2011,
            a bond forfeiture was entered when the
            defendant failed to appear. This offense
            occurred in Illinois.

 (Id. at 2-4.)    Based on these facts, Judge Rodovich concluded that

 there was a serious risk that the Sallay would not appear.                 The

 reasons provided by Judge Rodovich for detention were specified as

 follows:

            In the instant case, the defendant has failed
            to appear for scheduled proceedings on nine
            separate occasions in three different states.
            There is one outstanding warrant for a failure
            to appear in Indiana.       Additionally, the
            defendant has used three difference aliases.

            The defendant was unemployed at the time of
            her arrest and was receiving Social Security
            disability payments. Because of her criminal
            record, the defendant cannot return to her
            Section 8 apartment. In the prebond report,
            the defendant also admitted to using cocaine
            and heroin on a regular basis. [Citation
            omitted.]

 (Id. at 4.)   Judge Rodovich concluded that Sallay is a flight risk

 and that “[u]nder all of the circumstances, it is unlikely that the

 Probation Department could effectively monitor the defendant if

 released on bond.”     (Id.)



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        On March 29, 2011, Sallay filed the instant Petition for

 Review of Detention Order.        (DE #17.)       In the motion she argues

 that “the events for which the Defendant is charge [sic] occurred

 almost two years ago,” that she “has a place to reside,” and that

 if she is found guilty, “the United States Sentencing Guidelines

 have her at an Offense Level 9.”            (Id. at 1.)   Sallay presents no

 new evidence, nor does she offer any additional arguments or case

 law.




 DISCUSSION

        18 U.S.C. Section 3145(b) provides for district court review

 of a magistrate’s release or detention order.                Pursuant to this

 provision, the district court must conduct a de novo review and

 need not defer to the magistrate’s findings.                 United States v.

 Levine, 770 F. Supp. 460, 465 (N.D. Ind. 1991)(citations omitted);

 United   States   v.    Shaker,   665   F.    Supp.   698,   701   (N.D.    Ind.

 1987)(citations omitted).

        The district court’s review of a magistrate judge’s detention

 order may be conducted either by reviewing the transcript, or by

 holding a new hearing.       United States v. Torres, 929 F.2d 291, 292

 (7th Cir. 1991).       Although the district court has the authority to

 conduct a new hearing, it is not required.                18 U.S.C. Section

 3142(f) provides that detention hearings “may be reopened, before


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 or after a determination by the judicial officer . . . if the

 judicial officer finds that information exists that was not known

 to the movant at the time of the hearing and that has a material

 bearing on the issue whether there are conditions of release that

 will reasonably assure the appearance of such person as required

 and the safety of any other person and the community.” Sallay does

 not specifically request a new hearing, and she has offered nothing

 that would satisfy this threshold requirement for re-opening the

 detention hearing. As such, this Court exercises its discretion to

 conduct its de novo review without hearing additional evidence or

 argument.

        Under the Bail Reform Act of 1984 (the “Act”), a defendant

 shall not be detained pre-trial unless a condition or combination

 of conditions will not reasonably assure (1) the defendant’s

 appearance as required and (2) the safety of any other person and

 the community.     18 U.S.C. § 3142(e).       The Government bears the

 burden of proving that the defendant is either a flight risk or a

 danger to the community.      United States v. Daniels, 772 F.2d 382,

 383 (7th Cir. 1985).    A finding of either a danger to the community

 or a flight risk is sufficient to detain a defendant awaiting

 trial; a court need not find both to detain a defendant under the

 Act.   United States v. Daniels, 772 F.2d 382, 383 (7th Cir. 1985).

 To justify detention based on a risk of flight, it must be

 established by a preponderance of the evidence that no set of


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 conditions will reasonably assure the defendant’s appearance in

 court at the required times.          United States v. Portes, 786 F.2d

 758, 765 (7th Cir. 1985).

      In determining whether there are conditions of release that

 will reasonably assure the appearance of the defendant and the

 safety of the community, the court must consider: (1) the nature

 and circumstances of the offense charged, including whether the

 offense involves a firearm; (2) the weight of the evidence against

 the person; (3) the history and characteristics of the person,

 including the person’s character, physical and mental condition,

 family ties, employment, financial resources, length of residence

 in the community, community ties, past conduct, history relating to

 drug or alcohol abuse, criminal history, and record concerning

 appearance at court proceedings; and (4) the nature and seriousness

 of the danger to any person or the community that would be posed by

 the person’s release.     18 U.S.C. § 3142(g).

      In this case, based on a de novo review of the evidence, the

 Court agrees with and adopts the findings annunciated by Judge

 Rodovich in the original order of detention. The Court finds there

 is a serious risk that Sallay will not appear in court; it has been

 established by a preponderance of the evidence that Sallay poses a

 risk of non appearance for several reasons.

      First, the nature and circumstances of the offense charged

 weigh in favor of detention.          Sallay is facing a maximum term of

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 imprisonment of twenty years and a fine of up to $250,000.

 Attorney Bosch argues that, if she is found guilty, she is likely

 to only face two to eight months in prison based on a Guideline

 Offense Level 9.       However, the fact remains that the maximum

 possible penalty in this case is severe, and there is no guarantee

 at this point as to her Guideline range.            The Court notes that,

 according to the bond report, Sallay has a history of forfeiture

 and failure to appear for relatively minor offenses, so Attorney

 Bosch’s argument that she is unlikely to flee due to potentially

 insignificant penalties, carries little weight with this Court.

 Additionally, in the Petition for Review of Detention Order,

 Attorney Bosch argues that the events for which Sallay is charged

 occurred almost two years ago; he seems to imply that this fact

 makes detention based on a risk of nonappearance unnecessary.

 However, the Court does not find this reasoning persuasive because,

 according to the bond report, Sallay’s unrelated criminal activity

 and bond forfeitures continued to occur throughout 2009 and 2010.

       Next, the history and characteristics of Sallay weigh heavily

 in favor of detention.      In addition to the aforementioned pattern

 of bond forfeiture and failure to comply with conditions set forth

 by previous courts, the Court finds that Sallay does not have any

 employment    or   significant   familial    ties   to   the    community.

 According to the bond report, Sallay has been unemployed for seven

 or eight years; her last job was as a caregiver to her mother.


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 Both her mother and father are now deceased, and her boyfriend,

 Darren Higgenbottom, with whom she previously resided, has also

 been charged in this case.            She cannot return to her previous

 Section 8 apartment due to her prior felony convictions, and her

 boyfriend’s mother, Ozella Higgenbottom, indicated that Sallay

 would not be able to reside with her if released due to space

 concerns.    Although Attorney Bosch argues that she has the option

 of staying in Chicago with her sister-in-law or the wife of her

 uncle, he has provided no information to the Court regarding these

 individuals and why residing with one of them would reasonably

 assure Sallay’s appearance in court at the required times.

       As to Sallay’s mental condition, Attorney Bosch agrees that

 she suffers from depression and has been diagnosed with bi-polar

 disorder, but he argues that the solution to that problem is not

 detention.    While the Court acknowledges that detention is not a

 remedy to mental health issues, Sallay has explained that she was

 prescribed a psychotropic medication but that she does not take it;

 as such, the Court assumes that Sallay would remain unmedicated if

 released on bond. Thus, this factor weighs in favor of detention.

 Sallay has also admitted to using cocaine and heroin on a daily

 basis.    Attorney Bosch argues that she has an incentive to stay

 clean because, on approximately March 4, 2011, DCFS became involved

 with the custody of her three year old child.            However, according

 to the bond report, Sallay indicated that she has five other


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 children from previous relationships (ages nine through twenty) who

 live with her uncle in Chicago, and she admits to using drugs on a

 daily basis since she was thirty-four years old. In light of these

 facts,   the   Court   is    unconvinced       that,   at    this    point,      DCFS

 involvement in the life of one of her six children would serve to

 curtail her severe drug addiction.              Therefore, this factor also

 weighs in favor of detention.

       Finally, Attorney Bosch argues that, while she does have a

 criminal history, it is not significant.           The Court disagrees.           As

 noted above, Sallay has a lengthy history of bond forfeitures; she

 has   failed   to   comply   with     prior    courts’      conditions     and   has

 repeatedly failed to appear in court at the required times.

       Based on the foregoing and after considering all of the

 factors under 18 U.S.C. Section 3142(g), this Court finds, by a

 preponderance of the evidence, that Sallay is a serious flight risk

 and that no condition or combination of conditions will reasonably

 assure the appearance of Sallay in court as required.




 CONCLUSION

       For the reasons set forth above, the Petition for Review of

 Detention Order is DENIED (DE #17). This Court ORDERS that Felicia

 Sallay remain HELD WITHOUT BOND.              Pursuant to 18 U.S.C. Section

 3142(i), it is ordered that:


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             A. Defendant is committed to the custody of
             the Attorney General or his designated
             representative    for   confinement    in   a
             correctional facility separate, to the extent
             practicable, from persons awaiting or serving
             sentences or being held in custody pending
             appeal.

             B. Defendant shall be afforded a reasonable
             opportunity for private consultation with
             defense counsel; and

             C. On order of a court of the United States or
             on request of an attorney for the Government,
             the person in charge of the corrections
             facility shall deliver Defendant to the United
             States Marshal for the purpose of an
             appearance   in   connection   with  a   court
             proceeding.



 DATED: April 8, 2011                       /s/RUDY LOZANO, Judge
                                            United States District Court




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